                                                                                                 Case 23-11118                     Doc 26              Filed 08/21/23 Entered 08/21/23 01:53:07                                                     Desc Main
                                                                                                                                                        Document     Page 1 of 24

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Steven T. Carrigan Sr.

                                                                                    Debtor 2
                                                                                    (Spouse, if filing)                                                                                                                                           Check if this is an amended
                                                                                                                                                                                                                                                  filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number            1:23-bk-11118
                                                                                    (If known)



                                                                               Official Form 106Sum
                                                                               Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                              12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
                                                                               your original forms, you must fill out a new Summary and check the box at the top of this page.


                                                                                Part 1:              Summarize Your Assets

                                                                                                                                                                                                                                                               Your assets
                                                                                                                                                                                                                                                               Value of what
                                                                                                                                                                                                                                                               you own

                                                                               1.    Schedule A/B: Property (Official Form 106A/B)
                                                                                     1a. Copy line 55, Total real estate, from Schedule A/B .........................................................................................                               $827,400.00

                                                                                     1b. Copy line 62, Total personal property, from Schedule A/B ..............................................................................                                      $4,000.00

                                                                                     1c. Copy line 63, Total of all property on Schedule A/B.........................................................................................                               $831,400.00
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                                Part 2:              Summarize Your Liabilities

                                                                                                                                                                                                                                                               Your liabilities
                                                                                                                                                                                                                                                               Amount you owe

                                                                               2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of
                                                                                     Schedule D.............................................................................................................................................................        $248,000.00

                                                                               3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................                                                           $0.00

                                                                                     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.......................                                                        $11,652.67

                                                                                                                                                                                                                            Your total liabilities                  $259,652.67


                                                                                Part 3:              Summarize Your Income and Expenses

                                                                               4.    Schedule I: Your Income (Official Form 106I)
                                                                                     Copy your combined monthly income from line 12 of Schedule I ..........................................................................                                          $4,463.77

                                                                               5.    Schedule J: Your Expenses (Official Form 106J)
                                                                                     Copy your monthly expenses from line 22, Column A, of Schedule J. ..................................................................                                             $3,347.50




                                                                               Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                             Page 1
                                                                                              Case 23-11118                       Doc 26             Filed 08/21/23 Entered 08/21/23 01:53:07                                                   Desc Main
                                                                               Debtor 1     Steven T. Carrigan Sr.                                    Document     Page 2 of 24                                                                Case number: 1:23-bk-11118




                                                                                Part 4:            Answer These Questions for Administrative and Statistical Records

                                                                               6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?
                                                                                        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other
                                                                                        schedules.
                                                                                        Yes

                                                                               7.   What kind of debt do you have?
                                                                                       Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
                                                                                       family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9 for statistical purposes. 28 U.S.C. § 159.
                                                                                       Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and
                                                                                       submit this form to the court with your other schedules.

                                                                               8.   From the Statement of Your Current Monthly Income (Official Form 122A-1, 122B, or 122C-1):
                                                                                    Copy your total current monthly income from line 11.............................................................................................                                     $0.00

                                                                               9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:..................................

                                                                               From Part 4 on Schedule E/F, copy the following:                                                                                                                            Total claim

                                                                                    9a. Domestic support obligations (Copy line 6a.)...................................................................................................                                  $0.00

                                                                                    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)........................................................                                                    $0.00

                                                                                    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) ..............................................                                                   $0.00

                                                                                    9d. Student loans. (Copy line 6f.)...........................................................................................................................                        $0.00

                                                                                    9e. Obligations arising out of a separation agreement or divorce that you did not report as priority claims.
                                                                                        (Copy line 6g.).................................................................................................................................................                 $0.00

                                                                                    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)............................................                                                   $0.00

                                                                                    9g. Total. Add lines 9a through 9f..........................................................................................................................                         $0.00
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                                                              Page 2
                                                                                                 Case 23-11118                        Doc 26     Filed 08/21/23 Entered 08/21/23 01:53:07                           Desc Main
                                                                                                                                                  Document     Page 3 of 24

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1         Steven T. Carrigan Sr.

                                                                                    Debtor 2
                                                                                    (Spouse, if filing)                                                                                                           Check if this is an amended
                                                                                                                                                                                                                  filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number            1:23-bk-11118
                                                                                    (If known)



                                                                               Official Form 106A/B
                                                                               Schedule A/B: Property                                                                                                                                 12/15


                                                                               In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
                                                                               the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
                                                                               equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
                                                                               additional pages, write your name and case number (if known). Answer every question.


                                                                                Part 1:              Describe Each Residence, Building, Land or Other Real Estate You Own or Have an Interest in

                                                                               1.    Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

                                                                                            No. Go to Part 2.
                                                                                            Yes. Where is the property?
                                                                                     1.1 1 Setlers Drive                                         What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                            Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                    Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                                                                                                    Condominium or cooperative                 Secured by Property.
                                                                                                                                                    Manufactured or mobile home
                                                                                            Lakeville MA 02347                                      Land                                                                  Current value of
                                                                                                                                                                                                 Current value of
                                                                                            City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                               the entire property?
                                                                                                                                                    Timeshare                                                                  own?
                                                                                            Plymouth                                                Other
                                                                                            County                                                   N/A                                                $827,400.00              $827,400.00
                                                                                                                                                 Who has an interest in the property? Check
                                                                                                                                                     one
                                                                                                                                                     Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                     Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                     Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                     At least one of the debtors and another
                                                                                                                                                                                               Fee Simple
                                                                                                                                                 Other information you wish to add about
                                                                                                                                                 this item, such as local property                  Check if this is community property
                                                                                                                                                 identification number:                             (see instructions)

                                                                               2.    Add the dollar value of the portion you own for all of your entries from Part 1, including any
                                                                                                                                                                                                                                $827,400.00
                                                                                     entries for pages you have attached for Part 1. Write that number here. ...........................................


                                                                                Part 2:              Describe Your Vehicles
                                                                               Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any
                                                                               vehicles you own that someone else drives. If you lease a vehicle, also report it onSchedule G: Executory Contracts and Unexpired
                                                                               Leases.


                                                                               3.    Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

                                                                                            No.
                                                                                            Yes.

                                                                               4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
                                                                                     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories



                                                                               Official Form 106A/B                                                        Schedule A/B: Property                                                         Page 1
                                                                                             Case 23-11118                         Doc 26              Filed 08/21/23 Entered 08/21/23 01:53:07                                                        Desc Main
                                                                               Debtor 1    Steven T. Carrigan Sr.                                       Document     Page 4 of 24                                                                      Case number: 1:23-bk-11118



                                                                                          No.
                                                                                          Yes.

                                                                               5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
                                                                                    entries for pages you have attached for Part 2. Write that number here ............................................


                                                                                Part 3:            Describe Your Personal and Household Items
                                                                               Do you own or have any legal or equitable interest in any of the following items? (List the current value of the portion you own. Do not
                                                                               deduct secured claims or exemptions)



                                                                               6.   Household goods and furnishings
                                                                                    Examples: Major appliances, furniture, linens, china, kitchenware

                                                                                          No
                                                                                          Yes (Normal & ordinary $1,500.00; Personal property, D1) .........................................................                                                          $1,500.00

                                                                               7.   Electronics
                                                                                    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                                                                                    collections; electronic devices including cell phones, cameras, media players, games

                                                                                          No
                                                                                          Yes (TVs, laptop & desktop computers, cell phone, $600.00; Personal property, D1)...............                                                                              $600.00

                                                                               8.   Collectibles of value
                                                                                    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp,
                                                                                    coin, or baseball card collections; other collections, memorabilia, collectibles

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               9.   Equipment for sports and hobbies
                                                                                    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                                                                                    and kayaks; carpentry tools; musical instruments
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                                          No
                                                                                          Yes (Golf clubs, childrent's toys, and the like $300.00, D1)..........................................................                                                        $300.00

                                                                               10. Firearms
                                                                                    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               11. Clothes
                                                                                    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

                                                                                          No
                                                                                          Yes (Debtor's & children's $500.00; Personal property, D1) ........................................................                                                           $500.00

                                                                               12. Jewelry
                                                                                    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                                                                                    gold, silver

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               13. Non-farm animals
                                                                                    Examples: Dogs, cats, birds, horses

                                                                                          No
                                                                                          Yes (Two cats $0.00; Personal property, D1) .................................................................................

                                                                               14. Any other personal and household items you did not already list, including any health aids you
                                                                                   did not list

                                                                                          No
                                                                                          Yes ......................................................................................................................................................




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                               Page 2
                                                                                             Case 23-11118                         Doc 26              Filed 08/21/23 Entered 08/21/23 01:53:07                                                        Desc Main
                                                                               Debtor 1    Steven T. Carrigan Sr.                                       Document     Page 5 of 24                                                                      Case number: 1:23-bk-11118



                                                                               15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
                                                                                                                                                                                                                                                                    $2,900.00
                                                                                   attached for Part 3. Write that number here ...........................................................................................


                                                                                Part 4:            Describe Your Financial Assets
                                                                               Do you own or have any legal or equitable interest in any of the following? (List the current value of the portion you own. Do not deduct
                                                                               secured claims or exemptions)



                                                                               16. Cash
                                                                                    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
                                                                                    petition

                                                                                          No
                                                                                          Yes On hand $100.00 (D1) .................................................................................................................                                    $100.00

                                                                               17. Deposits of money
                                                                                    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage
                                                                                    houses, and other similar institutions. If you have multiple accounts with the same institution, list each.

                                                                                          No
                                                                                          Yes Bank of America checking (estimated) $1,000.00; Personal property (D1) ..........................                                                                       $1,000.00

                                                                               18. Bonds, mutual funds, or publicly traded stocks
                                                                                    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               19. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
                                                                                   including an interest in an LLC, partnership, and joint venture

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               20. Government and corporate bonds and other negotiable and non-negotiable instruments
                                                                                    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
                                                                                    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               21. Retirement or pension accounts
                                                                                    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing
                                                                                    plans

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               22. Security deposits and prepayments
                                                                                    Your share of all unused deposits you have made so that you may continue service or use from a company.
                                                                                    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                                                                                    companies, or others

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               24. Interests in an education IRA as defined in 26 U.S.C. § 530(b)(1) or under a qualified state tuition
                                                                                   plan as defined in 26 U.S.C. § 529(b)(1).

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights
                                                                                   or powers exercisable for your benefit



                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                               Page 3
                                                                                             Case 23-11118                         Doc 26              Filed 08/21/23 Entered 08/21/23 01:53:07                                                        Desc Main
                                                                               Debtor 1    Steven T. Carrigan Sr.                                       Document     Page 6 of 24                                                                      Case number: 1:23-bk-11118



                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
                                                                                    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               27. Licenses, franchises, and other general intangibles
                                                                                    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               28. Tax refunds owed to you
                                                                                    Give specific information about them, including whether you already filed the returns and the tax years

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               29. Family support
                                                                                    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                                                                                    settlement

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               30. Other amounts someone owes you
                                                                                    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                    compensation, Social Security benefits; unpaid loans you made to someone else

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               31. Interests in insurance policies
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                                    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s
                                                                                    insurance. Name the insurance company of each policy and the beneficiary, and list its value

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               32. Any interest in property that is due you from someone who has died
                                                                                    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to
                                                                                    receive property because someone has died.

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for
                                                                                   payment
                                                                                    Examples: Accidents, employment disputes, insurance claims, or rights to sue

                                                                                          No
                                                                                          Yes Possible claims against former significant other; location unknown; probably
                                                                                              uncollectible $0.00; Personal property (D1).............................................................................

                                                                               34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor
                                                                                   and rights to set off claims

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               35. Any financial assets you did not already list

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                      $0.00

                                                                               36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
                                                                                                                                                                                                                                                                    $1,100.00
                                                                                   attached for Part 4. Write that number here ...........................................................................................




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                               Page 4
                                                                                               Case 23-11118                       Doc 26              Filed 08/21/23 Entered 08/21/23 01:53:07                                                        Desc Main
                                                                               Debtor 1     Steven T. Carrigan Sr.                                      Document     Page 7 of 24                                                                      Case number: 1:23-bk-11118



                                                                                Part 5:             Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

                                                                               37. Do you own or have any legal or equitable interest in any business-related property?
                                                                                       No. Go to part 6.
                                                                                       Yes. Go to line 38.


                                                                                Part 6:             Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                                                                                                    If you own or have an interest in farmland, list it in Part 1.

                                                                               46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related
                                                                                   property?
                                                                                       No. Go to part 7.
                                                                                       Yes. Go to line 47.


                                                                                Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

                                                                               53. Do you have other property of any kind you did not already list?
                                                                                     Examples: Season tickets, country club membership
                                                                                           No
                                                                                           Yes .....................................................................................................................................................                      $0.00

                                                                               54. Add the dollar value of all of your entries from Part 7, including any entries for pages you have
                                                                                   attached for Part 7. Write that number here ...........................................................................................


                                                                                Part 8:             List the Totals of Each Part of this Form

                                                                               55. Part 1: Total real estate, line 2 .................................................................................................................                             $827,400.00

                                                                               56. Part 2: Total vehicles, line 5.............................................................................

                                                                               57. Part 3: Total personal and household items, line 15 .....................................                                                           $2,900.00
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               58. Part 4: Total financial assets, line 36 ..............................................................                                              $1,100.00

                                                                               59. Part 5: Total business-related property, line 45.............................................

                                                                               60. Part 6: Total farm- and fishing-related property, line 52 ...............................

                                                                               61. Part 7: Total other property not listed, line 54 ...............................................

                                                                               62. Total personal property. Add lines 56 through 61....................................................................................                                               $4,000.00

                                                                               63. Total of all property on Schedule A/B. Add line 55 + line 62 ..................................................................                                               $831,400.00




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                               Page 5
                                                                                                 Case 23-11118            Doc 26      Filed 08/21/23 Entered 08/21/23 01:53:07                              Desc Main
                                                                                                                                       Document     Page 8 of 24

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Steven T. Carrigan Sr.

                                                                                    Debtor 2
                                                                                    (Spouse, if filing)                                                                                                   Check if this is an amended
                                                                                                                                                                                                          filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number           1:23-bk-11118
                                                                                    (If known)



                                                                               Official Form 106C
                                                                               Schedule C: The Property You Claim as Exempt                                                                                                   04/22


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
                                                                               the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
                                                                               needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
                                                                               and case number (if known).

                                                                               For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
                                                                               specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
                                                                               any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
                                                                               funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
                                                                               exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
                                                                               to the applicable statutory amount.


                                                                                Part 1:              Identify the Property You Claim as Exempt

                                                                               1.     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                                            You are claiming Massachusetts Exemptions (04/07/2011) and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
                                                                                            You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

                                                                               2.     For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
                                                                                                                             Current value of the
                                                                                                                                                     Amount of the exemption you claim
                                                                                     Brief description of the property        portion you own
                                                                                    and line on Schedule A/B that lists                                                                         Specific laws that allow exemption
                                                                                                                                                          Check only one box for each
                                                                                               this property                 Copy the value from
                                                                                                                                                                  exemption
                                                                                                                               Schedule A/B

                                                                                 Single family home - 4 BR (Line 1)                  $827,400.00          $500,000.00                          Mass. Gen. L. c. 235, § 34,
                                                                                                                                                          100% of fair market value, up to     Fourteenth; c. 188, § 4
                                                                                                                                                          any applicable statutory limit

                                                                                 Normal & ordinary (Line 6)                            $1,500.00          $1,500.00                            Mass. Gen. L. c. 235, § 34, Second
                                                                                                                                                          100% of fair market value, up to
                                                                                                                                                          any applicable statutory limit

                                                                                 TVs, laptop & desktop computers, cell                   $600.00          $600.00                              Mass. Gen. L. c. 235, § 34,
                                                                                 phone, (Line 7)                                                          100% of fair market value, up to     Seventeenth
                                                                                                                                                          any applicable statutory limit

                                                                                 Golf clubs, childrent's toys, and the                   $300.00          $300.00                              Mass. Gen. L. c. 235, § 34,
                                                                                 like (Line 9)                                                            100% of fair market value, up to     Seventeenth
                                                                                                                                                          any applicable statutory limit

                                                                                 Debtor's & children's (Line 11)                         $500.00          $500.00                              Mass. Gen. L. c. 235, § 34, First
                                                                                                                                                          100% of fair market value, up to
                                                                                                                                                          any applicable statutory limit

                                                                                 On hand (Line 16)                                       $100.00          $100.00                              Mass. Gen. L. c. 235, § 34, Fifteenth
                                                                                                                                                          100% of fair market value, up to     & c. 246, § 28A
                                                                                                                                                          any applicable statutory limit




                                                                               Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                   Page 1
                                                                                              Case 23-11118               Doc 26        Filed 08/21/23 Entered 08/21/23 01:53:07                               Desc Main
                                                                               Debtor 1     Steven T. Carrigan Sr.                       Document     Page 9 of 24                                             Case number: 1:23-bk-11118



                                                                                                                             Current value of the
                                                                                                                                                       Amount of the exemption you claim
                                                                                     Brief description of the property        portion you own
                                                                                    and line on Schedule A/B that lists                                                                           Specific laws that allow exemption
                                                                                                                                                            Check only one box for each
                                                                                               this property                  Copy the value from
                                                                                                                                                                    exemption
                                                                                                                                Schedule A/B

                                                                                Bank of America checking (estimated)                     $1,000.00          $1,000.00                             Mass. Gen. L. c. 235, § 34, Fifteenth
                                                                                (Line 17)                                                                   100% of fair market value, up to      & c. 246, § 28A
                                                                                                                                                            any applicable statutory limit

                                                                                                                     Total             $831,400.00                               $504,000.00

                                                                               3.     Are you claiming a homestead exemption of more than $189,050.00?
                                                                                      (Subject to adjustment on 04/01/2025 and every 3 years after that for cases filed on or after the date of adjustment.)
                                                                                           No
                                                                                           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                                                                                                No
                                                                                                Yes
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                   Page 2
                                                                                                   Case 23-11118                    Doc 26             Filed 08/21/23 Entered 08/21/23 01:53:07                                                 Desc Main
                                                                                                                                                       Document      Page 10 of 24

                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1          Steven T. Carrigan Sr.

                                                                                     Debtor 2
                                                                                     (Spouse, if filing)                                                                                                                                      Check if this is an amended
                                                                                                                                                                                                                                              filing
                                                                                     United States Bankruptcy Court for the District of Massachusetts

                                                                                     Case number           1:23-bk-11118
                                                                                     (If known)



                                                                               Official Form 106D
                                                                               Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                          12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
                                                                               additional pages, write your name and case number (if known).

                                                                               1.      Do any creditors have claims secured by your property?
                                                                                           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
                                                                                           Yes. Fill in all of the information below.


                                                                                Part 1:                List All Secured Claims
                                                                               2.      List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim. If more than one creditor has a
                                                                                       particular claim, list the other creditors in Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name.

                                                                                                                                                                                                            Column A                    Column B             Column C
                                                                                                                                                                                                          Amount of claim          Value of collateral   Unsecured portion
                                                                                                                                                                                                         Do not deduct the value   that supports this          if any
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                                                                                                                                                             of the collateral           claim

                                                                               2.1                                                         Describe the property that secures the claim:                        $248,000.00             $827,400.00
                                                                               LB-Cabana Series IV Trust                                        Single family home - 4 BR
                                                                               Creditor's Name
                                                                               c/o US Bank Trust National Association                      As of the date you file, the claim is: Check all that apply
                                                                               Number Street                                                     Contingent
                                                                               101 Centre Road Ste 203                                           Unliquidated
                                                                                                                                                 Disputed
                                                                               Wilmington DE 19805
                                                                               City, State, ZIP Code                                       Nature of lien. Check all that apply
                                                                               Who owes the debt? Check one.                                    An agreement you made (such as
                                                                                   Debtor 1 only                                                mortgage or secured car loan)
                                                                                   Debtor 2 only                                                Statutory lien (such as tax lien, mechanic’s
                                                                                   Debtor 1 and Debtor 2 only                                   lien)
                                                                                   At least one of the debtors and another                      Judgment lien from a lawsuit
                                                                                                                                                Other (including a right to offset)
                                                                                       Check if this claim relates to a community
                                                                                       debt                                                Last 4 digits of account number: -5944

                                                                               Date debt was incurred: 2008

                                                                               Add the dollar value of your entries in Column A. Write that number here: .............................................       $248,000.00


                                                                                Part 2:                List Others to Be Notified for a Debt That You Already Listed
                                                                                Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a
                                                                                collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection
                                                                                agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here.
                                                                                If you do not have additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




                                                                               Official Form 106D                                          Schedule D: Creditors Who Have Claims Secured by Property                                                                    Page 1
                                                                                                 Case 23-11118        Doc 26    Filed 08/21/23 Entered 08/21/23 01:53:07                            Desc Main
                                                                               Debtor 1      Steven T. Carrigan Sr.             Document      Page 11 of 24                                         Case number: 1:23-bk-11118



                                                                               1                                                                    On which line in Part 1 did you enter the creditor? 2.1
                                                                               Demerle Hoeger LLP
                                                                               Creditor's Name                                                      Last 4 digits of account number: UNKNOWN
                                                                               10 City Square
                                                                               Number Street



                                                                               Charlestown MA 02129
                                                                               City, State, ZIP Code
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               Official Form 106D                       Schedule D: Creditors Who Have Claims Secured by Property                                      Page 2
                                                                                                   Case 23-11118             Doc 26     Filed 08/21/23 Entered 08/21/23 01:53:07                                     Desc Main
                                                                                                                                        Document      Page 12 of 24

                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1           Steven T. Carrigan Sr.

                                                                                     Debtor 2
                                                                                     (Spouse, if filing)                                                                                                            Check if this is an amended
                                                                                                                                                                                                                    filing
                                                                                     United States Bankruptcy Court for the District of Massachusetts

                                                                                     Case number             1:23-bk-11118
                                                                                     (If known)



                                                                               Official Form 106E/F
                                                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                      12/15


                                                                               Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
                                                                               List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
                                                                               A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
                                                                               creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
                                                                               needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the
                                                                               top of any additional pages, write your name and case number (if known).


                                                                                Part 1:                  List All of Your PRIORITY Unsecured Claims
                                                                               1.     Do any creditors have priority unsecured claims against you?
                                                                                          No. Go to Part 2.
                                                                                          Yes.


                                                                                Part 2:                  List All of Your NONPRIORITY Unsecured Claims
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               3.     Do any creditors have nonpriority unsecured claims against you?
                                                                                          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
                                                                                          Yes.

                                                                               4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
                                                                                      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims
                                                                                      already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority
                                                                                      unsecured claims fill out the Continuation Page of Part 2.

                                                                                                                                                                                                                                 Total claim

                                                                               4.1                                                                 Last 4 digits of account number: -919G                                               $359.27
                                                                               Financial Recovery Services, Inc.
                                                                               Nonpriority Creditor's Name                                         When was the debt incurred: 10/21/2020
                                                                               PO Boz 21405
                                                                               Number Street                                                       As of the date you file, the claim is: Check all that apply
                                                                                                                                                         Contingent
                                                                                                                                                         Unliquidated
                                                                               Saint Paul MN 55121                                                       Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                      Student loans
                                                                                     Debtor 2 only                                                      Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                         you did not report as priority claims
                                                                                     At least one of the debtors and another                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                        Other. Specify Collection Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 1
                                                                                                   Case 23-11118             Doc 26    Filed 08/21/23 Entered 08/21/23 01:53:07                                    Desc Main
                                                                               Debtor 1         Steven T. Carrigan Sr.                 Document      Page 13 of 24                                                 Case number: 1:23-bk-11118


                                                                                                                                                                                                                              Total claim

                                                                               4.2                                                               Last 4 digits of account number:                                                       $0.00
                                                                               Internal Revenue Service
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               PO Box 7346
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Philadelphia PA 19101-7346                                              Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Taxes
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.3                                                               Last 4 digits of account number:                                                       $0.00
                                                                               Mass Dept. of Revenue
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               Bankruptcy Unit
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               PO Box 7090                                                             Contingent
                                                                                                                                                       Unliquidated
                                                                               Boston MA 02204                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Taxes
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.4                                                               Last 4 digits of account number: -0 07                                                 $0.00
                                                                               Middleborough Gas & Electric Dept.
                                                                                                                                                 When was the debt incurred: UNKNOWN
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               Nonpriority Creditor's Name
                                                                               PO Box 92
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Middleboro MA 02346                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Gas & Electric
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.5                                                               Last 4 digits of account number: -6918                                              $769.85
                                                                               Midland Credit Management, Inc.
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 01/18/2023
                                                                               320 E BIg Beaver Rd Ste 300
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Troy MI 48083                                                           Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2
                                                                                                   Case 23-11118             Doc 26    Filed 08/21/23 Entered 08/21/23 01:53:07                                    Desc Main
                                                                               Debtor 1         Steven T. Carrigan Sr.                 Document      Page 14 of 24                                                 Case number: 1:23-bk-11118


                                                                                                                                                                                                                              Total claim

                                                                               4.6                                                               Last 4 digits of account number: -7026                                            $7,264.43
                                                                               Midland Credit Management, Inc.
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 01/18/2023
                                                                               320 E BIg Beaver Rd Ste 300
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Troy MI 48083                                                           Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.7                                                               Last 4 digits of account number: -2553                                            $2,805.21
                                                                               Midland Credit Management, Inc.
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 10/27/2022
                                                                               320 E BIg Beaver Rd Ste 300
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Troy MI 48083                                                           Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.8                                                               Last 4 digits of account number: -3013                                              $453.91
                                                                               Sunrise Credit Services, Inc.
                                                                                                                                                 When was the debt incurred: 05/30/2020
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               Nonpriority Creditor's Name
                                                                               PO Box 9004
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Melville NY 11747                                                       Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Collection Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.9                                                               Last 4 digits of account number: -40-1                                                 $0.00
                                                                               Town of Lakeville
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: UNKNOWN
                                                                               Dept. 6350
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                               PO Box 4110                                                             Contingent
                                                                                                                                                       Unliquidated
                                                                               Woburn MA 01888                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Taxes
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3
                                                                                                   Case 23-11118                           Doc 26                Filed 08/21/23 Entered 08/21/23 01:53:07                                                        Desc Main
                                                                               Debtor 1         Steven T. Carrigan Sr.                                           Document      Page 15 of 24                                                                     Case number: 1:23-bk-11118


                                                                                                                                                                                                                                                                            Total claim

                                                                               4.10                                                                                              Last 4 digits of account number:                                                                     $0.00
                                                                               Verizon
                                                                               Nonpriority Creditor's Name                                                                       When was the debt incurred: UNKNOWN
                                                                               PO Box 490
                                                                               Number Street                                                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                                                       Contingent
                                                                                                                                                                                       Unliquidated
                                                                               Newark NJ 07101                                                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                                                    Student loans
                                                                                     Debtor 2 only                                                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                                                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                                                      Other. Specify Utility
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes



                                                                                Part 3:                  List Others to Be Notified for a Debt That You Already Listed
                                                                               5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
                                                                                      example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2,
                                                                                      then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list
                                                                                      the additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit
                                                                                      this page.


                                                                                Part 4:                  Add the Amounts for Each Type of Unsecured Claim
                                                                               6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
                                                                                      Add the amounts for each type of unsecured claim.

                                                                                                                                                                                                                                                                  Total claim

                                                                               Total
                                                                               claims from
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               Part 1                  6a. Domestic support obligations .................................................................................................                  6a.              $0.00

                                                                                                       6b. Taxes and certain other debts you owe the government .....................................................                                      6b.              $0.00

                                                                                                       6c. Claims for death or personal injury while you were intoxicated..........................................                                        6c.              $0.00

                                                                                                       6d. Other. Add all other priority unsecured claims. Write that amount here.....................................                                     6d.              $0.00

                                                                                                       6e. Total Add lines 6a through 6d. ...................................................................................................              6e.              $0.00

                                                                               Total
                                                                               claims from
                                                                               Part 2                  6f. Student loans .............................................................................................................................     6f.              $0.00

                                                                                                       6g. Obligations arising out of a separation agreement or divorce that you did not report as
                                                                                                       priority claims .................................................................................................................................   6g.              $0.00

                                                                                                       6h. Debts to pension or profit-sharing plans, and other similar debts......................................                                         6h.              $0.00

                                                                                                       6i. Other. Add all other nonpriority unsecured claims. Write that amount here................................                                       6i.         $11,652.67

                                                                                                       6j. Total. Add lines 6f through 6i. .....................................................................................................           6j.         $11,652.67




                                                                               Official Form 106E/F                                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                                           Page 4
                                                                                                 Case 23-11118            Doc 26       Filed 08/21/23 Entered 08/21/23 01:53:07                               Desc Main
                                                                                                                                       Document      Page 16 of 24

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Steven T. Carrigan Sr.

                                                                                    Debtor 2
                                                                                    (Spouse, if filing)                                                                                                      Check if this is an amended
                                                                                                                                                                                                             filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number           1:23-bk-11118
                                                                                    (If known)



                                                                               Official Form 106G
                                                                               Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
                                                                               additional pages, write your name and case number (if known).

                                                                               1.    Do you have any executory contracts or unexpired leases?
                                                                                         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                                                                                         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                               Page 1
                                                                                                 Case 23-11118            Doc 26    Filed 08/21/23 Entered 08/21/23 01:53:07                        Desc Main
                                                                                                                                    Document      Page 17 of 24

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Steven T. Carrigan Sr.

                                                                                    Debtor 2
                                                                                    (Spouse, if filing)                                                                                            Check if this is an amended
                                                                                                                                                                                                   filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number           1:23-bk-11118
                                                                                    (If known)



                                                                               Official Form 106H
                                                                               Schedule H: Your Codebtors                                                                                                            12/15


                                                                               Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
                                                                               people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
                                                                               fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages,
                                                                               write your name and case number (if known). Answer every question.

                                                                               1.    Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
                                                                                         No
                                                                                         Yes

                                                                               2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and
                                                                                     territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
                                                                                           No. Go to line 3.
                                                                                           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                                                                                                No
                                                                                                Yes. In which community state or territory did you live? . Fill in the name and current address of that person.
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List
                                                                                     the person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed
                                                                                     the creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form
                                                                                     106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

                                                                               Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                                                                                        Check all schedules that apply




                                                                               Official Form 106H                                          Schedule H: Your Codebtors                                                    Page 1
                                                                                                 Case 23-11118            Doc 26       Filed 08/21/23 Entered 08/21/23 01:53:07                         Desc Main
                                                                                                                                       Document      Page 18 of 24

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Steven T. Carrigan Sr.
                                                                                                                                                                                                  Check if this is:
                                                                                    Debtor 2
                                                                                                                                                                                                      An amended filing
                                                                                    (Spouse, if filing)
                                                                                                                                                                                                      A supplement showing
                                                                                                                                                                                                      post-petition chapter 13
                                                                                    United States Bankruptcy Court for the District of Massachusetts
                                                                                                                                                                                                      income as of
                                                                                    Case number           1:23-bk-11118
                                                                                    (If known)



                                                                               Official Form 106I
                                                                               Schedule I: Your Income                                                                                                                    12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                               supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
                                                                               spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
                                                                               attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                Part 1:              Describe Employment
                                                                               1.    Fill in your employment                                                Debtor 1                           Debtor 2 or non-filing spouse
                                                                                     information                             Employment status                Employed                           Employed
                                                                                                                                                              Not employed                       Not employed
                                                                                     If you have more than one job,
                                                                                     attach a separate page with             Occupation                     Management
                                                                                     information about additional            Employer's name                Uncertain, as employment           N/A
                                                                                     employers.                                                             applications are pending.
                                                                                                                             Employer's address                                                N/A
                                                                                     Include part-time, seasonal, or
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                                     self-employed work.                     How long employed there?                                          N/A

                                                                                     Occupation may include student or
                                                                                     homemaker, if it applies.


                                                                                Part 2:              Give Details About Monthly Income

                                                                               Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space.
                                                                               Including your non-filing spouse unless you are separated.

                                                                               If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                               below. If you need more space, attach a separate sheet to this form.


                                                                                                                                                                                                                 For Debtor 2
                                                                                                                                                                                                                      or
                                                                                                                                                                                              For Debtor 1
                                                                                                                                                                                                                  non-filing
                                                                                                                                                                                                                   spouse
                                                                               2.    List monthly gross wages, salary, and commissions before all payroll deductions).                   2.      $3,466.66
                                                                                     If not paid monthly, calculate what the monthly wage would be.

                                                                               3.    Estimate and list monthly overtime pay.                                                             3.            $0.00
                                                                               4.    Calculate gross income. Add line 2 + line 3.                                                        4.      $3,466.66
                                                                               5.    List All payroll deductions:

                                                                                     5a. Tax, Medicare, and Social Security deductions                                                  5a.          $674.44
                                                                                     5b. Mandatory contributions for retirement plans                                                   5b.            $0.00




                                                                               Official Form 106I                                                Schedule I: Your Income                                                       Page 1
                                                                                            Case 23-11118              Doc 26         Filed 08/21/23 Entered 08/21/23 01:53:07                        Desc Main
                                                                               Debtor 1    Steven T. Carrigan Sr.                     Document      Page 19 of 24                                    Case number: 1:23-bk-11118



                                                                                                                                                                                                             For Debtor 2
                                                                                                                                                                                           For Debtor 1      or non-filing
                                                                                                                                                                                                               spouse
                                                                                    5c. Voluntary contributions for retirement plans                                                 5c.             $0.00
                                                                                    5d. Required repayments of retirement fund loans                                                 5d.             $0.00
                                                                                    5e. Insurance                                                                                    5e.             $0.00
                                                                                    5f.   Domestic support obligations                                                               5f.             $0.00
                                                                                    5g. Union dues                                                                                   5g.             $0.00
                                                                                    5h. Other deductions. Specify:                                                                   5h.             $0.00
                                                                               6.   Add the payroll deductions. Add lines 5a through 5h                                               6.       $674.44
                                                                               7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                               7.     $2,792.22
                                                                               8.   List all other income regularly received:

                                                                                    8a. Net income from rental property and from operating a business, profession,                   8a.             $0.00
                                                                                        or farm

                                                                                          Attach a statement for each property and business showing gross receipts,
                                                                                          ordinary and necessary business expenses, and the total monthly net income.

                                                                                    8b. Interest and dividends                                                                       8b.             $0.00
                                                                                    8c. Family support payments that you, a non-filing spouse, or a dependent                        8c.             $0.00
                                                                                        regularly receive

                                                                                          Include alimony, spousal support, child support, maintenance, divorce settlement,
                                                                                          and property settlement.
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                                    8d. Unemployment compensation                                                                    8d.             $0.00
                                                                                    8e. Social Security                                                                              8e.             $0.00
                                                                                    8f.   Other government assistance that you regularly receive                                     8f.             $0.00
                                                                                          Include cash assistance and the value (if known) of any non-cash assistance that
                                                                                          you receive, such as food stamps (benefits under the Supplemental Nutrition
                                                                                          Assistance Program) or housing subsidies. Specify:

                                                                                    8g. Pension or retirement income                                                                 8g.     $1,636.55
                                                                                    8h. Other monthly income. Specify: Child support D1 $35.00                                       8h.            $35.00
                                                                               9.   Add all other income. Add lines 8a-8h.                                                            9.     $1,671.55
                                                                               10. Calculate monthly income. Add line 7 + line 9.                                                             10.       $4,463.77
                                                                                   Add the entries in line 9 for Debtor 1 and Debtor 2 or non-filing spouse.

                                                                               11. State all other regular contributions to the expenses that you list in Schedule J                          11.            $0.00
                                                                                   (Official Form 106J).

                                                                                    Include contributions from an unmarried partner, members of your household, your
                                                                                    dependents, your roommates, and other friends or relatives.

                                                                                    Do not include any amounts already included in lines 2-10 or amounts that are not available to
                                                                                    pay expenses listed in Schedule J (Official Form 106J).

                                                                                    Specify:

                                                                               12. Add the amounts on lines 10 and 11. The result is the combined monthly income. Also                        12.
                                                                                   write that amount on the Summary of Your Assets and Liabilities and Certain Statistical                              $4,463.77
                                                                                   Information (Official Form 106Sum) if it applies.




                                                                               Official Form 106I                                              Schedule I: Your Income                                                  Page 2
                                                                                             Case 23-11118          Doc 26       Filed 08/21/23 Entered 08/21/23 01:53:07         Desc Main
                                                                               Debtor 1    Steven T. Carrigan Sr.                Document      Page 20 of 24                      Case number: 1:23-bk-11118



                                                                               13. Do you expect an increase or decrease within the year after you file this form?

                                                                                                          Debtor is a single parent, and thus has not been able to work for some time. The
                                                                                          No
                                                                                          Yes.
                                                                                                          children are old enough now that he can get a job, and in order to meet his obligations
                                                                                          Explain.....    under the plan, expects to do so in early September, at which time he will amend this
                                                                                                          schedule to increase his plan payment. In or about July, 2024, he will begin receiving
                                                                                                          Social Security, which he believes will be $2,087. An amended schedule will be filed at
                                                                                                          that time, also, to increase his plan payment, if appropriate.
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               Official Form 106I                                         Schedule I: Your Income                                    Page 3
                                                                                                  Case 23-11118            Doc 26         Filed 08/21/23 Entered 08/21/23 01:53:07                          Desc Main
                                                                                                                                          Document      Page 21 of 24

                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1        Steven T. Carrigan Sr.
                                                                                                                                                                                                      Check if this is:
                                                                                     Debtor 2
                                                                                                                                                                                                          An amended filing
                                                                                     (Spouse, if filing)
                                                                                                                                                                                                          A supplement showing
                                                                                                                                                                                                          post-petition chapter 13
                                                                                     United States Bankruptcy Court for the District of Massachusetts
                                                                                                                                                                                                          expenses as of
                                                                                     Case number           1:23-bk-11118
                                                                                     (If known)



                                                                               Official Form 106J
                                                                               Schedule J: Your Expenses                                                                                                                     12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:               Describe Your Household
                                                                                1.      Is this a joint case?

                                                                                              No. Go to line 2.
                                                                                              Yes. Does Debtor 2 live in a separate household?

                                                                                                     No.
                                                                                                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2

                                                                               2.     Do you have dependents?                                            Dependent's                Dependent's age            Does dependent live
                                                                                                                                  No                     relationship to Debtor                                with you?
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                                      Do not list Debtor 1 or Debtor 2.           Yes. Fill out this     1 or Debtor 2
                                                                                                                                  information for        Daughter                   15                            No
                                                                                      Do not state the dependents'                each dependent                                                                  Yes
                                                                                      names.
                                                                                                                                                         Son                        12                            No
                                                                                                                                                                                                                  Yes

                                                                               3.     Do your expenses include expenses of people other than yourself and your                        No
                                                                                      dependents?                                                                                     Yes


                                                                                Part 2:               Estimate Your Ongoing Monthly Expenses
                                                                               Estimate your expenses as your bankruptcy filing date unless you are using this form as supplement in a Chapter 13 case to report
                                                                               expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in
                                                                               the applicable date

                                                                               Include expenses paid for with non-cash governmental assistance if you know the value of such assistance and have included it on
                                                                               Schedule I: Your Income(Official Form 106I).


                                                                                Note: Expenses for property other than the debtor(s)' primary residence(s), if any, are reported in the Summary of Business/Real-Estate Income &
                                                                                Expense annexed to Schedule I.

                                                                                Note: Monthly payments that are being made through the Chapter 13 Plan, if any, are not included in the expenses listed on this schedule.

                                                                                                                                                                                                                Your
                                                                                                                                                                                                              expenses
                                                                               4.     The rental or home ownership expenses for your residence. Include first                                          4.       $2,400.00
                                                                                      mortgage payments and any rent for the ground or lot.

                                                                                      If not included in line 4:

                                                                                      4a. Real estate taxes                                                                                           4a.




                                                                               Official Form 106J                                                  Schedule J: Your Expenses                                                     Page 1
                                                                                            Case 23-11118             Doc 26        Filed 08/21/23 Entered 08/21/23 01:53:07              Desc Main
                                                                               Debtor 1   Steven T. Carrigan Sr.                    Document      Page 22 of 24                           Case number: 1:23-bk-11118



                                                                                                                                                                                              Your
                                                                                                                                                                                            expenses
                                                                                    4b. Property, homeowner's, or renter's insurance                                                4b.

                                                                                    4c. Home maintenance, repair, and upkeep expenses                                               4c.

                                                                                    4d. Homeowner's association or condominium dues                                                 4d.

                                                                               5.   Additional mortgage payments for your residence, such as home equity loans                       5.

                                                                               6.   Utilities:

                                                                                    6a. Electricity, heat, natural gas                                                              6a.        $180.00
                                                                                    6b. Water, sewer, garbage collection                                                            6b.          $37.50
                                                                                    6c. Telephone, cell phone, Internet, satellite, and cable services                              6c.        $190.00
                                                                                    6d. Other. Specify: N/A                                                                         6d.

                                                                               7.   Food and housekeeping supplies                                                                   7.        $400.00
                                                                               8.   Childcare and children’s education costs                                                         8.

                                                                               9.   Clothing, laundry, and dry cleaning                                                              9.          $60.00
                                                                               10. Personal care products and services                                                              10.          $80.00
                                                                               11. Medical and dental expenses                                                                      11.

                                                                               12. Transportation. Include gas, maintenance, bus or train fare.                                     12.
                                                                                   Do not include car payments.

                                                                               13. Entertainment, clubs, recreation, newspapers, magazine, and books                                13.
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               14. Charitable contributions and religious donations                                                 14.

                                                                               15. Insurance.
                                                                                   Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                    15a. Life insurance                                                                            15a.

                                                                                    15b. Health insurance                                                                          15b.

                                                                                    15c. Vehicle insurance                                                                         15c.

                                                                                    15d. Other insurance. Specify: N/A                                                             15d.

                                                                               16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20. Specify: N/A    16.

                                                                               17. Installment or lease payments

                                                                                          (None)                                                                                    17.           $0.00
                                                                               18. Your payments of alimony, maintenance, and support that you did not report as                    18.
                                                                                   deducted from your pay on line 5, Schedule I (Official Form 106I)

                                                                               19. Other payments you make to support others who do not live with you.                              19.
                                                                                   Specify: N/A

                                                                               20. Other real property expenses not included in lines 4 or 5 of this form or on
                                                                                   Schedule I (Official Form 106I)

                                                                                    20a. Mortgages on other property                                                               20a.

                                                                                    20b. Real estate taxes                                                                         20b.

                                                                                    20c. Property, homeowner's, or renter's insurance                                              20c.

                                                                                    20d. Maintenance, repair, and upkeep expenses                                                  20d.

                                                                                    20e. Homeowner's association or condominium dues                                               20e.




                                                                               Official Form 106J                                           Schedule J: Your Expenses                                        Page 2
                                                                                             Case 23-11118           Doc 26        Filed 08/21/23 Entered 08/21/23 01:53:07                            Desc Main
                                                                               Debtor 1    Steven T. Carrigan Sr.                  Document      Page 23 of 24                                         Case number: 1:23-bk-11118



                                                                                                                                                                                                           Your
                                                                                                                                                                                                         expenses
                                                                                   20f. Other. Specify:                                                                                         20f.

                                                                               21. Other. Specify: N/A                                                                                           21.

                                                                               22. Calculate your monthly expenses.

                                                                                   22a. Add lines 4 through 21.                                                                                 22a.       $3,347.50
                                                                                   22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                         22b.

                                                                                   22c. Add line 22a and 22b. The result is your monthly expenses.                                              22c.       $3,347.50


                                                                               23. Calculate your monthly net income

                                                                                   23a. Copy line 12 (your combined monthly income) from Schedule I                                             23a.       $4,463.77
                                                                                   23b. Copy your monthly expenses from line 22 above.                                                          23b.       $3,347.50
                                                                                   23c. Subtract your monthly expenses from your monthly income.                                                23c.       $1,116.27
                                                                                        The result is your monthly net income

                                                                               24. Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                                   For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease
                                                                                   because of a modification to the terms of your mortgage?


                                                                                          No
                                                                                          Yes.
                                                                                          Explain.....
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                               Official Form 106J                                          Schedule J: Your Expenses                                                         Page 3
                                                                                               Case 23-11118             Doc 26         Filed 08/21/23 Entered 08/21/23 01:53:07                                    Desc Main
                                                                                                                                        Document      Page 24 of 24

                                                                                  Fill in this information to identify your case:

                                                                                  Debtor 1        Steven T. Carrigan Sr.

                                                                                  Debtor 2
                                                                                  (Spouse, if filing)                                                                                                              Check if this is an amended
                                                                                                                                                                                                                   filing
                                                                                  United States Bankruptcy Court for the District of Massachusetts

                                                                                  Case number           1:23-bk-11118
                                                                                  (If known)



                                                                               Official Form 106Dec
                                                                               Declaration About an Individual Debtor’s Schedules                                                                                                    12/15


                                                                               If two married people are filing together, both are equally responsible for supplying correct information.

                                                                               You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
                                                                               obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
                                                                               years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                                                                   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                                                                                          No
                                                                                          Yes. Name of person N/A. Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

                                                                                   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they
                                                                                   are true and correct.
BkAssist® Software Copyright© 2010-2022 by Walter Oney. All rights reserved.




                                                                                   /s/ Steven T. Carrigan Sr.                                                                                       08/18/2023
                                                                                   Signature of Debtor 1                                                                                            Date

                                                                                                                                                                                                    08/18/2023
                                                                                   Signature of Debtor 2                                                                                            Date




                                                                               Official Form 106Dec                                 Declaration About an Individual Debtor’s Schedules                                                   Page 1
